                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                   KNOXVILLE DIVISION

    ISABEL ZELAYA, et al.,

           Plaintiffs,                                      No. 3:19-cv-00062-TRM-CHS

    v.                                                      CLASS ACTION

    ROBERT HAMMER, et al.,                                  JURY DEMANDED

           Defendants.


                              JOINT MOTION TO EXTEND STAY


          On August 31, 2022, the Court entered an order staying all matters in this case through

   September 9, 2022, to allow the parties sufficient time to finalize a settlement agreement. (Doc.

   770.) On September 9, 2022, the parties moved for a further stay through September 19, 2022,

   which the Court granted on September 13, 2022. (Doc. 772.) The parties continue to work through

   the class and individual settlement language and associated documents, including a proposed

   notice, claims forms, and motion for preliminary approval of the class settlement. Accordingly,

   Counsel for the parties have conferred and jointly request that the Court extend the stay through

   October 10, 2022.




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   Respectfully submitted,

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